Filed 09/16/19                                      Case 19-21640                                                Doc 115



       1   JaVonne M. Phillips, Esq. SBN 187474
           Kelly M. Raftery, Esq. SBN 249195
       2
           McCarthy & Holthus, LLP
       3   411 Ivy Street
           San Diego, CA 92101
       4   Phone (877) 369-6122
       5   Fax (619) 685-4811

       6   Attorneys for Deutsche Bank National Trust Company, as trustee, on behalf of the holders of the
           Soundview Home Loan Trust 2005-1 Asset-Backed Certificates, Series 2005-1, its assignees
       7   and/or successors, by and through its servicing agent Select Portfolio Servicing, Inc.
       8
                                     UNITED STATES BANKRUPTCY COURT
       9
                                      EASTERN DISTRICT OF CALIFORNIA
      10
                                             SACRAMENTO DIVISION
      11
           IN RE:                                         § Case Number: 19-21640
      12                                                  §
           Debora Leigh Miller-Zuranich,                  § Chapter: 11
      13
           aka Debora Leigh Miller,
      14   dba Joseph J. Miller Living Trust dated
           October 8, 2007,
      15                                      §
      16                   Debtor.            §
                                   REQUEST FOR SPECIAL NOTICE
      17                 PURSUANT TO BANKRUPTCY RULES 2002, 9014 AND 7004
      18
                  PLEASE TAKE NOTICE that McCarthy & Holthus, LLP has been retained by Deutsche
      19   Bank National Trust Company, as trustee, on behalf of the holders of the Soundview Home Loan
           Trust 2005-1 Asset-Backed Certificates, Series 2005-1, its assignees and/or successors, by and
      20   through its servicing agent Select Portfolio Servicing, Inc. in the above-referenced bankruptcy
      21   case.

      22           McCarthy & Holthus, LLP and Deutsche Bank National Trust Company, as trustee, on
           behalf of the holders of the Soundview Home Loan Trust 2005-1 Asset-Backed Certificates,
      23
           Series 2005-1, its assignees and/or successors, by and through its servicing agent Select Portfolio
      24   Servicing, Inc. hereby request special notice of all matters which must be noticed pursuant to the
           Bankruptcy and Local rules at the following addresses:
      25
                 Select Portfolio Servicing, Inc.             Kelly M. Raftery, Esq.
      26         P.O. Box 65250                               c/o McCarthy & Holthus, LLP
                 Salt Lake City, UT 84165-0250                411 Ivy Street
      27                                                      San Diego, CA 92101
      28
      29


                                                                                 M&H File No. CA-19-157420
Filed 09/16/19                                     Case 19-21640                                                 Doc 115



       1            Any appearances or filings of other documents in the instant case shall not constitute a
           waiver of Fed.R. Bankr. Rule 7004. Deutsche Bank National Trust Company, as trustee, on
       2
           behalf of the holders of the Soundview Home Loan Trust 2005-1 Asset-Backed Certificates,
       3   Series 2005-1, its assignees and/or successors, by and through its servicing agent Select Portfolio
           Servicing, Inc. must be served directly and does not authorize McCarthy & Holthus, LLP to act
       4   as its agent for purposes of service under Fed.R. Bankr. Rule 7004.
       5
           Dated: 9/16/2019                                    McCarthy & Holthus, LLP
       6
                                                          By: /s/ Kelly M. Raftery
       7                                                      Kelly M. Raftery, Esq.
       8                                                      Attorneys for Deutsche Bank National Trust
                                                              Company, as trustee, on behalf of the holders
       9                                                      of the Soundview Home Loan Trust 2005-1
      10                                                      Asset-Backed Certificates, Series 2005-1, its
                                                              assignees and/or successors, by and through
      11                                                      its servicing agent Select Portfolio Servicing,
                                                              Inc.
      12
      13
      14
      15
      16
      17
      18
      19
      20
      21
      22
      23
      24
      25
      26
      27
      28
      29


                                                                                 M&H File No. CA-19-157420
